

Matter of Steward v Lucas (2018 NY Slip Op 00683)





Matter of Steward v Lucas


2018 NY Slip Op 00683


Decided on February 2, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on February 2, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CENTRA, J.P., PERADOTTO, NEMOYER, TROUTMAN, AND WINSLOW, JJ.


102 CAF 16-01530

[*1]IN THE MATTER OF YVONNE STEWARD, PETITIONER-APPELLANT,
vCARMELL LUCAS, RESPONDENT-RESPONDENT. (APPEAL NO. 4.) 






WILLIAM D. BRODERICK, JR., ELMA, FOR PETITIONER-APPELLANT. 
MICHAEL J. STACHOWSKI, P.C., BUFFALO (MICHAEL J. STACHOWSKI OF COUNSEL), FOR RESPONDENT-RESPONDENT. 
AYOKA A. TUCKER, ATTORNEY FOR THE CHILD, BUFFALO. 


	Appeal from an order of the Family Court, Erie County (Mary G. Carney, J.), entered August 5, 2016 in a proceeding pursuant to Family Court Act article 6. The order granted respondent's motion to, inter alia, dismiss the petition. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Entered: February 2, 2018
Mark W. Bennett
Clerk of the Court








